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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FEDERAL NATIONAL MORTGAGE            )
ASSOCIATION (“FANNIE MAE”), A        )
CORPORATION ORGANIZED AND            )
EXISTING UNDER THE LAWS OF THE       )                   Case No. 1:14-cv-4664
UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                   Judge: Hon. Andrea R. Wood
     v.                              )
                                     )                   Magistrate: Hon. Sidney I. Schenkier
GEORGE L. OBRADOVICH, et al.,        )
                                     )
                Defendants.          )
                                     )
GEORGE L. OBRADOVICH and JENNIFER M. )
OBRADOVICH;                          )
                                     )
                Counter/Third-Party  )
                Plaintiffs,          )
                                     )
     v.                              )
                                     )
FEDERAL NATIONAL MORTGAGE            )
ASSOCIATION (“FANNIE MAE”), et al.,  )
                                     )
                Counter/Third-Party  )
                Defendants.          )

THE FANNIE MAE DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED
    PAGE LIMITATION IN FILING THEIR MEMORANDUM IN SUPPORT OF
              THEIR MOTION FOR SUMMARY JUDGMENT

       Counter/Third-Party Defendants Federal National Mortgage Association (“Fannie Mae”)

and Seterus, Inc. (“Seterus”) (collectively, the “Fannie Mae Defendants”), by their attorneys,

respectfully move this Court for leave to file their Memorandum in Support of their Motion for


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Summary Judgment in excess of the fifteen page limit imposed under Rule 7.1 of the Local Rules

of the U.S. District Court for the Northern District of Illinois (“Local Rule 7.1”), and in support

thereof, states as follows:

       1.      Third Party Plaintiffs George L. Obradovich and Jennifer M. Obradovich’s (“Third-

Party Plaintiffs”) First Amended Counterclaim alleges the following three claims against the

Fannie Mae Defendants: (1) trespass to real property, (2) violation of the Illinois Consumer Fraud

and Deceptive Business Practices Act, 815 ILCS 505/1, et seq. (“ICFA”), and (3) negligence.

Plaintiffs also assert a fourth claim against Seterus only for an alleged violation of the federal Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”). See First Amended

Counterclaim. [D.E. 97].

       2.      The Fannie Mae Defendants memorandum in support of their motion for summary

judgment argues that they are entitled to summary judgment on all four claims.

       3.      Accordingly, the Fannie Mae Defendants respectfully request that this Court allow

the Fannie Mae Defendants leave to exceed the 15-page limitation on briefs imposed by Local

Rule 7.1.

       4.      Third-Party Plaintiffs have no objection to this motion.

       5.      No party will be unduly prejudiced by the granting of this motion.

       WHEREFORE, Defendants Fannie Mae and Seterus respectfully request that this Court

extend the page limitation for their Memorandum in Support of their Motion for Summary

Judgment on Third-Party Plaintiffs’ First Amended Counterclaim to permit the filing of a brief

consisting of twenty-nine (29) pages of argument, and that this Court grant such further and

additional relief as it deems necessary and proper.




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Date: December 18, 2017                      Respectfully submitted,

                                             FEDERAL NATIONAL MORTGAGE
                                             ASSOCIATION and SETERUS, INC.,

Ralph T. Wutscher                            Defendants,
Ernest P. Wagner
Jeffrey T. Karek
MAURICE WUTSCHER LLP
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Chicago, Illinois 60602
Tel. (312) 416-6170                  By:      /s/ Jeffrey T. Karek
Fax (312) 284-4751                           One of Their Attorneys




                                     Certificate of Service

        Jeffrey T. Karek, an attorney, certifies that on December 18, 2017, he caused the service
of a true and correct copy of this Memorandum and any referenced exhibits via ECF on all
parties who are filing users.

                                              /s/ Jeffrey T. Karek




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